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 6
                              UNITED STATES DISTRICT COURT
 7                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8    GOOGLE LLC,                                     Case No. 3:20-cv-6754
 9                       Plaintiff,                   [PROPOSED] ORDER GRANTING
10                                                    SONOS, INC.’S MOTION FOR
             v.                                       ISSUANCE OF LETTERS REQUEST
11                                                    TO SPOTIFY AB (SWEDEN)
      SONOS, INC.,
12
                        Defendant.
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                                                              [PROPOSED] ORDER GRANTING
                                                     SONOS, INC.’S MOTION FOR ISSUANCE OF
                                                  LETTERS REQUEST TO SPOTIFY AB (SWEDEN)
            Case 3:20-cv-06754-WHA Document 76-12 Filed 10/13/21 Page 2 of 2



 1          On October 12, 2021, Sonos, Inc. (“Sonos”) moved this Court for issuance of Letters

 2   Request seeking disclosure of documents and testimony from third-party Spotify AB (Sweden).

 3          Having considered the request, and GOOD CAUSE appearing therefor,

 4   IT IS HEREBY ORDERED THAT:

 5          Sonos’s request for issuance of Letters Request for the purpose of obtaining discovery

 6   from third-party Spotify AB in Sweden is granted. The Court will sign with the seal of the Court

 7   the Letters Request submitted with Sonos’s motion.

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 9   IT IS SO ORDERED

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11   Dated: October ___, 2021                    ________________________________

12                                               Hon. William Alsup
13                                               Judge of the United States District Court
                                                 Northern District of California
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